                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

                                                    No. 3:06-CR-74-2-BR

UNITED STATES OF AMERICA,                           )
                                                    )
               v.                                   )              ORDER
                                                    )
                                                    )
RICKY EDWARD GRAVES                                 )



       As the Court noted in its 13 April 2007 order, “[t]he Court is concerned that the

testimony and evidence in the case may have shown that defendant engaged in conduct which

would be in violation of the Rules of Professional Conduct of the North Carolina State Bar.”

The court reporter is DIRECTED to transcribe all of defendant’s testimony at trial. The

transcript shall be filed with the Clerk and a copy provided to the North Carolina State Bar. The

Clerk is DIRECTED to serve a copy of this order on the North Carolina State Bar.

       This 8 May 2007.




                                             __________________________________
                                                   W. Earl Britt
                                                   Senior U.S. District Judge




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